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5    Xiaguo Song
6                                UNITED STATES DISTRICT COURT
7                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    United States of America,                      )   Case No.: Cr.S-08-543-GEB
                                                    )
10                  Plaintiff,                      )
                                                    )   STIPULATION AND PROPOSED
11          vs.                                     )   ORDER TO CONTINUE
                                                    )   STATUS CONFERENCE
12   Tian Bao Guo, et. al.,                         )
                                                    )
13                  Defendants                      )
                                                        DATE: July 17, 2009
                                                    )
14                                                  )   TIME: 9:00 a.m.
                                                    )   JUDGE: Hon. Garland E. Burrell, Jr.
15                                                  )
                                                    )
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            This matter is now set for status conference on July 17, 2009. Because the parties
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     anticipate a change of plea and need more time to complete the plea agreement and because the
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     defendant is housed in Butte County and the Chinese interpreter and the attorney’s schedule
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     cannot be is coordinated until next week, it is STIPULATED that the matter be continued until
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     July 31, 2009 at 9:00 AM and the parties request the Court so order with time under the speedy
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     trial act excluded for counsel preparation (Local Code T4).
23
            /s/ Michael M. Beckwith                                /s/ Kathryn Kohlman Druliner
24
     Michael Beckwith                                     Kathryn Kohlman Druliner
25
     Assistant U.S. Attorney                              Attorney for Defendant


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1                                                   ORDER
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             Based on the stipulations of the parties and good cause appearing therefrom, the Court
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     hereby finds that the failure to grant both of the requested continuances in this case would deny

5    respective counsel for all parties reasonable time necessary for effective preparation, taking into

6    account the exercise of due diligence. The Court specifically finds that the ends of justice served

7    by the granting of such continuances outweigh the interests of the public and the defendants in a

8    speedy trial.
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             Based on these findings and pursuant to the stipulations of the parties, the Court hereby
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     adopts each of the stipulations of the respective parties in their entirety as its orders.
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     IT IS SO ORDERED.
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     Dated: 7/16/09
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15                                                GARLAND E. BURRELL, JR.
                                                  United States District Judge
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